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   EXHIBIT 1
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July 8, 2022                                                                             Sonal N. Mehta
                                                                                        +1 650 600 5051 (t)
By E-mail                                                                               +1 650 858 6100 (f)
                                                                               sonal.mehta@wilmerhale.com


John M. Pierce
jpierce@johnpiercelaw.com
21550 Oxnard St., 3rd Fl PMB 172
Woodland Hills, CA 91367

Bob Barr
Bob@bobbarr.org
Brannon Burroughs
Brannon@bobbarr.org
2120 Powers Ferry Road, Suite 125
Atlanta, GA 30339

Re:    Loomer et al. v. Facebook, Inc., et al., No. 3:22-02646-LB (N.D. Cal.)

Dear Mr. Pierce and Mr. Barr,

        We write on behalf of Meta Platforms, Inc. (“Meta”; formerly Facebook, Inc.) and Mark
Zuckerberg regarding the above-captioned matter. We have carefully considered your complaint
asserting that actions taken by Meta and Mr. Zuckerberg, including the suspension of Ms.
Loomer’s account for violations of Facebook’s Community Standards, violated the Racketeer
Influenced and Corrupt Organizations (“RICO”) Act of 1970. Our review of your complaint
raises serious concerns about the validity of your claims, which at their core rehash the same
grievances that Ms. Loomer has already taken to court—and lost or voluntarily dismissed—on
multiple prior occasions. Put simply, it appears that there is not a good-faith basis to proceed
with this suit.

         First, the complaint is just the most recent in a string of baseless lawsuits brought by Ms.
Loomer against Meta, all arising out of Facebook’s decision to suspend her account. Over three
years ago, she sued Facebook in the District of Columbia, challenging its decision to ban her
account for 30 days. Am. Compl. ¶ 69, Freedom Watch, Inc. et al. v. Google, Inc. et al., No.
1:18-cv-02030-TNM (D.D.C. Dec. 6, 2018), ECF No. 27. That case was dismissed for failure to
state a claim. Freedom Watch, Inc. v. Google, Inc., 368 F. Supp. 3d 30, 34 (D.D.C. Mar. 14,
2019), aff’d, 816 F. App’x 497, 500-01 (D.C. Cir. 2020). Just four months after the D.C. district
court dismissed the case, Ms. Loomer filed an action in the Southern District of Florida, again
challenging Facebook’s decision to ban her from its platform. Complaint ¶ 5, Loomer v.
Facebook, Inc., No. 9:19-cv-80893-RS (S.D. Fla. July 8, 2019), ECF No. 1. Just hours after that
court denied Ms. Loomer’s motion for an extension of discovery, Ms. Loomer filed a nearly
identical complaint against Facebook in Florida state court. See Loomer v. Facebook, Inc., Case
No. 50-2020-CA-002352-XXXX-MB (Fla. 15th Cir. Ct. 2020). Facebook removed the case to
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Bob Barr
July 8, 2022
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federal court, see Notice of Removal, Loomer v. Facebook, Inc., No. 9:20-cv-80484-DMM,
(S.D. Fla. Mar. 24, 2020), ECF No. 1, and Ms. Loomer voluntarily dismissed the case shortly
thereafter, Notice of Voluntary Dismissal, Loomer, No. 9:20-cv-80484-DMM (S.D. Fla. Apr. 22,
2020), ECF No. 20. The Southern District of Florida transferred the first-filed Florida case to
this Court. Order Granting Motion to Transfer, Loomer, No. 9:19-cv-80893-RS (S.D. Fla. Apr.
13, 202), ECF No. 56. Ms. Loomer then voluntarily dismissed that action (with prejudice)—
after Meta had fully briefed a motion to dismiss and filed a motion for summary judgment—
explaining that she did not believe that she “would be accorded due process and an unbiased
adjudication by the Court.” Notice of Voluntary Dismissal, Loomer, No. 4:20-cv-03154-HSG
(N.D. Cal. Aug. 13, 2020), ECF No. 88; Joint Initial Case Management Statement at 3, Loomer,
No. 4:20-cv-03154-HSG (N.D. Cal. June 30, 2020), ECF No. 80. Yet Ms. Loomer returns to the
same court, with her fourth set of meritless claims based on the same events, raising serious
concerns relating to misuse of judicial process.

        Second, Section 230(c)(1) of the Communications Decency Act protects interactive
computer service providers such as Meta and Mr. Zuckerberg from claims based on decisions to
make available or restrict access to content created by third parties. See Barnes v. Yahoo!, Inc.,
570 F.3d 1096, 1102 (9th Cir. 2009). Ms. Loomer’s RICO claims do just that. At their core,
they seek to hold Defendants liable for removing her account and her content from the Facebook
platform. Such claims are squarely barred by Section 230. See, e.g., King v. Facebook, Inc.,
2021 WL 5279823, at *11 (N.D. Cal. Nov. 12, 2021) (holding that Section 230 protects
Facebook from liability for disabling account for violation of Community Standards); Sikhs for
Justice, Inc. v. Facebook, Inc., 697 F. App’x 526, 526 (9th Cir. 2017) (holding that Section 230
protects Facebook from liability for blocking user’s content).

        Third, the complaint impermissibly targets Meta’s and Mr. Zuckerberg’s First
Amendment right to exercise editorial judgments regarding what content they will or will not
disseminate on the privately-owned platform. Miami Herald Pub. Co. v. Tornillo, 418 U.S. 241,
257-58 (1974); NetChoice, LLC v. Att’y Gen’l, 34 F.4th 1196, 1222-23 (11th Cir. 2022) (“When
a platform selectively removes what it perceives to be incendiary political rhetoric … it conveys
a message and thereby engages in ‘speech’ within the meaning of the First Amendment.”);
accord O’Handley v. Twitter, et al. 2022 WL 93625, at *14-15 (N.D. Cal. Jan. 10, 2022).

        Fourth, the complaint does not state a claim against Meta or Mark Zuckerberg for
substantive violations of the RICO Act or for RICO conspiracy. To establish a RICO violation,
Ms. Loomer must plead specific facts establishing that Meta and Mark Zuckerberg participated
in the operation or management of an enterprise that engaged in a pattern of racketeering activity
causing injury to Ms. Loomer’s business or property. Reves v. Ernst & Young, 507 U.S. 170,
185 (1993); Living Designs, Inc. v. E.I. Dupont de Nemours and Co., 431 F.3d 353, 361 (9th Cir.
2005). The complaint does not plausibly allege any predicate acts constituting racketeering
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Bob Barr
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activity under the RICO Act; Ms. Loomer’s allegations are plainly insufficient to establish that
Meta or Mark Zuckerberg attempted to, conspired to, or did in fact commit wire fraud or
extortion; provide material support to foreign terrorist organizations; or advocate for the
overthrow of the government. Nor does the complaint plausibly allege the existence of an
enterprise, a pattern of racketeering activity, or an injury to Ms. Loomer’s business or property
caused by the alleged predicate acts.

        In short, the complaint does not state any viable legal claims against Meta or Mark
Zuckerberg, and its numerous deficiencies cannot be cured by amendment. To the extent you
believe that we misapprehend the law or your factual allegations, please explain the specific
basis for your disagreement. To the extent you believe there are amendments that could
somehow cure these defects, please plead them before Meta and Mark Zuckerberg (and,
importantly, the Court) are forced to undertake the burden and expense of litigating a motion to
dismiss. To the extent you intend to proceed with your complaint as filed, please be on notice
that Meta and Mark Zuckerberg will vigorously defend themselves against baseless claims.

                                                     Sincerely,

                                                     /s/ Sonal N. Mehta

                                                     Sonal N. Mehta
                                                     Counsel for Meta Platforms, Inc.
                                                     (f/k/a Facebook, Inc.) and Mark Zuckerberg


cc:    Ari Holtzblatt
       Emily Barnet
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                                                                   21550 Oxnard Street
                                                                          3rd Floor,
                                                                    3rd Floor, PMB #172
                                                                  Woodland Hills, CA 91367

                                                             John M. Pierce – Managing Partner
                                                               E: jpierce@johnpiercelaw.com



August 7, 2022
By E-mail
Sonal N. Mehta
Sonal.mehta@wilmerhale.com


Re:    Loomer et al. v. Facebook, Inc., et al., No. 3:22-02646-LB (N.D. Cal.)
Dear Ms. Mehta,
       We respectfully disagree with your analysis of the merits of Ms. Loomer’s claims, and
we will proceed with our complaint as filed.
       First, while the current action is maintained between some of the same parties as prior
lawsuits that Ms. Loomer has brought, this action does not replicate any claims from prior
lawsuits, and the acts giving rise to the causes of action herein overlap with those in prior
lawsuits only to the extent to which Defendants’ regular course of business engaged in the
commission of predicate acts of racketeering.
        Next, 47 U.S.C. § 230 does not provide immunity to Defendants in this action. Section
230 was enacted in 1996 to provide “Internet platforms immunity from some civil and criminal
claims.” Malwarebytes, Inc. v. Enigma Software Grp. USA LLC, 141 S. Ct. 13, 13 (2020)
(Thomas, J., statement respecting denial of certiorari) (citing 47 U.S.C. § 230). While “most of
today’s major Internet platforms did not exist” when Congress enacted the statute, “many courts
have construed the law broadly to confer sweeping immunity on some of the largest companies
in the world.” Id. Section 230(c)(1) “ensures that a company (like an e-mail provider) can host
and transmit third-party content without subjecting itself to the liability that sometimes attaches
to the publisher or speaker of unlawful content.” Id. Section 230(c)(2) “provides direct
immunity from some civil liability” when computer service providers “restrict access to, or
remove, certain types of objectionable content” through “good-faith acts.” Id. (emphasis added).
“[B]y construing § 230(c)(1) to protect any decision to edit or remove content, courts have
curtailed the limits Congress placed on decisions to remove content.” Id. (first citing Barnes v.
Yahoo!, Inc., 570 F.3d 1096, 1105 (9th Cir. 2009); and then citing e-ventures Worldwide, LLC v.
Google, Inc., 2017 U.S. Dist. LEXIS 88650 (M.D. Fla., Feb. 8, 2017)). Courts have recently
“adopt[ed] the too-common practice of reading extra immunity into statutes where it does not
belong . . . [by] rel[ying] on policy and purpose arguments to grant sweeping protection to
Internet platforms.” Id. (first citing Baxter v. Bracey, 590 U.S. ___ (2020) (Thomas, J.,
dissenting from denial of certiorari); and then citing 1 R. §4.86, p. 4-380 (2d ed. 2019) accord,
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Rustad & Koenig, Rebooting Cybertort Law, 80 Wash. L. Rev. 335, 342-43 (2005)). When a
plaintiff, such as Ms. Loomer, sues “over a defendant’s ‘conduct rather than for the content of
the information, . . . § 230 should not apply.” Id. (citing FTC v. Accusearch, Inc., 570 F.3d 1187
(10th Cir. 2009) (Tymkovich, J. concurring)).
        Third, while Defendants argue that their content moderation decisions are protected under
the First Amendment as editorial judgments, “if [Defendants’] statements are misleading
commercial speech, and thus unprotected, then [Defendants’] content moderation decisions . . .
would be the very acts that make its speech misleading.” Twitter, Inc. v. Paxton, 26 F.4th 1119,
1125 (2022). Whether a social media company’s statements are misrepresentations is “not solely
a legal issue because it depends on further factual amplification,” and therefore a social media
company’s “statements can be investigated as misleading just like the statements of any other
business.” Id. at 1126. Here, Defendants’ content moderation decisions to remove conservative
and Republican politicians’ statements and accounts at much higher frequency than they remove
liberal and Democrat politicians’ statements and accounts is impermissible misleading speech
that may properly be investigated.
         Finally, Defendants have violated the Racketeer Influenced and Corrupt Organizations
Act (RICO). Any person associated with any enterprise affecting interstate or foreign commerce
who participates, directly or indirectly, in the conduct of such enterprise’s affairs through a
pattern of racketeering activity violates 18 U.S.C. § 1962(c). Defendants collectively associated
in fact and engaged in activities that affect interstate commerce with common goals of making
money, acquiring influence over other enterprises and entities, and other pecuniary and non-
pecuniary interests. For instance, Defendants violated 18 U.S.C. § 1343 by devising or intending
to devise an artifice of community policies and scheme to exploit them in order to defraud and
obtain money and intangible property under the false pretense of compliance with community
policies, and false promises of upholding community standards and transmitted writings by
means of wire communication in interstate or foreign commerce for the purpose of executing
such scheme or artifice. Further, Defendants violated 18 U.S.C. § 1951 by conspiring,
attempting, and obstructing, delaying and affecting commerce through extortion by wrongfully
using the fear of public disgrace and economic harm associated with being banned and labeled a
dangerous individual or group, under the color of official right, to obtain intangible property
from Ms. Loomer. Defendants violated 18 U.S.C. § 1952 by, through printed and electronic
communication, maliciously threatening to injure Ms. Loomer’s reputation with the intent to
extort pecuniary advantage and to compel Ms. Loomer and similarly situated individuals to
refrain from associating. As a direct and proximate result of these racketeering activities, Ms.
Loomer has been injured in her business, reputation, election activities, and property through loss
of money, property, intangible rights, equal opportunity, campaign exposure, goodwill, and
donations.
       For these reasons, Plaintiffs will continue to pursue their claims against your clients.
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Sincerely,
John Pierce Law P.C.




John M. Pierce
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     8    1. The services we provide
                                                          The Facebook compaııy is ııow Mera. We've updared our Terms of Use, Dara Po/icy, aııd

     f) 2. How our services are funded
                                                          Cookies Policy ro reflect rhe new name on January 4, 2022. While our company name has
                                                          changed, we are cominuing ro offer rhe same producrs, including ehe Facebook app from
                                                          Mera. Dur Dara Policy and Terms of Service remain in effect, and rhis name change does
                                                          noc affecr how we use or share daca. Leam more abour Mera and our vision tor ehe
                                                          metaverse.
          3. Your commitments to Facebook
          and our community


     f) 4. Additional provisions
                                                          Terms of Service
          5. other tenms and policies that
          may apply to you
                                                          Meta builds technologies and services !hat enable people to
                                                          connect with each other, build communities, and grow
                FacebookAds Controls                      businesses. T hese Terms govern your use of Facebook,
                                                          Messenger, and the other products, features, apps, services,

                Privacy Basics
                                                          technologies, and software we offer (the Meta Products or
                                                          Products), except where we expressly state that separate terms
                                                          (and not these) apply. T hese Products are provided to you by
             } Cookies Policy
                                                          Meta Platfornıs, ine.


                Dat& Policy                               We don't charge you to use Facebook or the other products and
                                                          services covered by these Terms, unless we state otherwise.
                                                          lnstead, businesses and organizations, and other persons pay
                More Resources
                                                          us to show you ads far their products and services. By using our
                  View a printable version of the Terms   Products, you agree that we can show you ads that vıe think
                  of Service
                                                          may be relevant to you and your interests. We use your personal
                                                          dala to help determine which personalized ads to show you.


                                                          We don't seli your personal data to advertisers, and we don't
                                                          share information that directly identifies you (such as your name,
                                                          email address or other contact information) with advertisers
                                                          unless you give us specific permission. lnstead, advertisers can
                                                          tel1 us things like the kind of audience they want to see their ads,
                                                          and we show those ads to people who may be interested. We
                                                          provide advertisers with reports about the performance of their
                                                          ads !hat help them understand how people are interacting with
                                                          their content. See Section 2 below to learn more about how
                                                          personalized advertising under these terms works on the Meta
                                                          Products.


                                                          Our Privacy Policy explains how we collect and use your
                                                          personal dala to determine some of the ads you see and provide
                                                          all of the other services described below. You can alsa go to
                                                          your setting� pages of the relevant Meta Product at any time to
                                                          review the privacy choices you have about how we use your
                                                          data.




                                                          • Return to top


                                                          1. The services we provide
                                                          Our mission is to give people the power to build community and bring the world
                                                          closer together. To help advance lhis mission, we provide the Products and
                                                          services described below to you
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   Tech




   Facebook bans 'dangerous individuals'
   Dave Lee
   North America technology reporter

      3 May 2019




    AFP/GETTY

     Milo Yiannopoulous, Alex Jones and Louis Farrakhan have all been banned


   Facebook is banning several prominent figures it regards as "dangerous
   individuals".


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   The social network accused Alex Jones, host of right-wing conspiracy website
   InfoWars, its UK editor Paul Joseph Watson and ex-Breitbart News editor Milo
   Yiannopoulos of hate speech.

   Louis Farrakhan, the Nation of Islam leader who has expressed anti-Semitic
   views, will also be excluded.

   Facebook has already banned anti-Islamic UK groups like Britain First.

   The latest ban also applies on Instagram, which Facebook owns.

   "We’ve always banned individuals or organisations that promote or engage in
   violence and hate, regardless of ideology,” the company said in a statement.


       More people in more places trust BBC News than any other
       news source.                                                                                Register
       Register for a BBC account to see why.

   "The process for evaluating potential violators is extensive and it is what led us
   to our decision to remove these accounts today."

   The banned group also includes Paul Nehlen, a white supremacist, and Laura
   Loomer, an anti-Islamic activist with a large social media presence.

   In November, Ms Loomer handcuffed herself to a Twitter building in New York
   in protest at being banned from that platform.




    GETTY IMAGES

     Laura Loomer is among those banned from the platform

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    GETTY IMAGES

     White supremacist Paul Nehlen, right, has twice run in Republican primaries


   However, Facebook has been criticised for giving forewarning of the bans,
   giving those affected a chance to redirect their followers to other services.

   For a brief time on Thursday, Alex Jones was broadcasting, on Facebook,
   about his impending ban.

   “I’m about to be banned," wrote Mr Yiannopoulos to his followers on
   Instagram. "Please sign up for my mailing list before this account disappears."

   A spokesperson at Facebook said the ban will apply to all types of
   representation of the individuals on both Facebook and Instagram.

   The firm said it would remove pages, groups and accounts set up to represent
   them, and would not allow the promotion of events when it knows the banned
   individual is participating.

   In an email, Facebook explained its rationale for banning the users:

       It said Alex Jones had hosted on his programme Gavin McInnes, leader of
       the Proud Boys, whose members are known for racist, anti-Muslim and
       misogynistic rhetoric. Mr McInnes has been designated a "hate figure" by
       Facebook

       Facebook said this year Milo Yiannopoulos had publicly praised both Mr
       McInnes and English Defence League founder Tommy Robinson, both
       banned from the network




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       Laura Loomer also appeared with Mr McInnes, and Facebook said she also
       praised another banned figure, Faith Goldy, a Canadian

       Nation of Islam leader Louis Farrakhan was banned for making several anti-
       Semitic remarks earlier this year

   _______

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                                                                                                                                                           Milo Yiannopoulos    package, a vic

                                                                                                                                                           Media
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     Facebook bans ‘dangerous individuals’ cited for hate
     speech
     By BARBARA ORTUTAY     May 3, 2019




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8/8/22, 10:38 AM       Case 3:22-cv-02646-LB   Document
                                           Facebook           80-2individuals'
                                                    bans 'dangerous   Filed cited
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                             SAN FRANCISCO (AP) — After years of pressure to
                 AP NEWS
                             crack down on hate and bigotry, Facebook has banned
                             Louis Farrakhan, Alex Jones and other extremists,
                                                                                                                                     by Taboola


                             saying they violated its ban on “dangerous
     U.S. News World New
     Trending News China-Taiwan tensions Gaza cease fire
                             individuals.”                  U.S. economy    Midterm elections     Russia-UkraineADVERTISEMENT
                                                                                                                 war

                             The company also removed right-wing personalities
                             Paul Nehlen, Milo Yiannopoulos, Paul Joseph Watson
                             and Laura Loomer, along with Jones’ site, Infowars,
                             which often posts conspiracy theories. The latest bans
                             apply to both Facebook’s main service and to
                             Instagram and extend to fan pages and other related
                             accounts.

                             Decried as censorship by several of those who got the
                             ax, the move signals a renewed effort by the social
                             media giant to remove people and groups promoting
                             objectionable material such as hate, racism and anti-
                             Semitism.

                             Removing some of the best-known figures of the U.S.
                             political extreme takes away an important virtual
                             megaphone that Facebook has provided the likes of                                                                    Senate Demo
                             Jones, Yiannopoulos and others over the years. But it                                                                package, a vic
                             does not address what might be done with lesser
                             known figures and those who stay on the margins of
                             what Facebook’s policies allow.

                             Critics praised the move but said there is more to be
                             done on both Facebook and Instagram.

                             “We know that there are still white supremacists and
                             other extremist figures who are actively using both
                             platforms to spread their hatred and bigotry,” said
                             Keegan Hankes, senior research analyst for the
                             Southern Poverty Law Center, which tracks hate
                             groups in the U.S.

                             Dipayan Ghosh, a former Facebook executive and an
                             internet policy expert at Harvard, said the ban isn’t as
                             big a step as Facebook appears to be painting it — it’s
                             just enforcing its existing policy.

                             “There will always be more purveyors of hate speech
                             that try to come on these platforms,” he said. “Will
                             advocates have to push year after year just to get (a
                             handful of ) individuals off? At this rate it seems likely.
                             And this doesn’t address the problem of what happens
                             at the margins.”

                             Facebook has previously suspended Jones from its
                             flagship service temporarily; this suspension is
                             permanent and includes Instagram. Twitter has also
                             banned Loomer, Jones and Yiannopoulos, though
                             Farrakhan, the leader of the Nation of Islam long
                             known for provocative comments widely considered
                             anti-Semitic, still had an account Thursday. So did
                             Watson, who rose to popularity as editor-at-large at
                             Infowars and has nearly a million followers on the
                             site.

                             Facebook said the newly banned accounts violated its
                             policy against dangerous individuals and
                             organizations. The company says it has always banned
https://apnews.com/article/alex-jones-north-america-ap-top-news-sc-state-wire-ca-state-wire-7825d0df3fda4799a78da92b9e969cdc                                2/5
8/8/22, 10:38 AM       Case 3:22-cv-02646-LB   Document
                                           Facebook           80-2individuals'
                                                    bans 'dangerous   Filed cited
                                                                               10/27/22      Page
                                                                                  for hate speech | AP46 of 103
                                                                                                       News

                             people or groups that proclaim a violent or hateful
                 AP NEWS     mission or are engaged in acts of hate or violence,
                             regardless of political ideology.


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                             It added that when it bans someone under this policy,
                             the company also prohibits anyone else from praising
                             or supporting them.

                             In this case, though, the company said people can
                             speak positively about the six banned individuals as
                             long as what they’re saying otherwise complies with
                             Facebook policies.

                             For years, social media companies have been under
                             pressure from civil rights groups and other activists to
                             clamp down on hate speech on their services.
                             Following the deadly white nationalist protests in
                             Charlottesville, Virginia, in 2017, Google, Facebook
                             and PayPal began banishing extremist groups and
                             individuals who identified as or supported white                                                  Senate Demo
                             supremacists.                                                                                     package, a vic

                             A year later, widespread bans of Jones and Infowars
                             reflected a more aggressive enforcement of policies
                             against hate speech. But Facebook instituted only a
                             30-day suspension (though Twitter banned him
                             permanently).

                             It is not clear what events led to Thursday’s
                             announcement. In a statement, Facebook merely said,
                             “The process for evaluating potential violators is
                             extensive and it is what led us to our decision to
                             remove these accounts today.”

                             Last month, it extended its ban on hate speech to
                             prohibit the promotion and support of white
                             nationalism and white separatism. It had previously
                             allowed such material even though it has long banned
                             white supremacists.

                             Asked to comment on the bans, Yiannopoulos emailed
                             only “You’re next.”

                             Jones reacted angrily Thursday during a live stream of
                             his show on his Infowars website.

                             “They didn’t just ban me. They just defamed us. Why
                             did Zuckerberg even do this?” Jones said, referring to
                             Facebook CEO Mark Zuckerberg.

                             Jones called himself a victim of “racketeering” by
                             “cartels.”


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                             “There’s a new world now, man, where they’re
                             banning everybody and then they tell Congress
                             nobody is getting banned,” he said.

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                                                                                   for hate speech | AP47 of 103
                                                                                                        News
                               Watson, meanwhile, tweeted that he was not given a
                 AP NEWS       reason and that he “broke none of their rules.”

                               “Hopefully, other prominent conservatives will speak
                               out about me being banned, knowing that they are
                               next if we don’t pressure the Trump administration to
     U.S. News World New
     Trending News China-Taiwan
                             taketensions   Gaza
                                   action,” he   cease fire
                                               wrote.         U.S. economy   Midterm elections   Russia-Ukraine war

                               Farrakhan, Nehlen and Loomer did not immediately
                               return messages for comment.

                               Harvard’s Ghosh said kicking off individuals with big
                               followings, such as Jones, goes against Facebook’s
                               commercial interest.

                               “As soon as they kick Alex Jones or Laura Loomer off
                               their platform, it immediately ticks of a huge number
                               of people,” he said.

                               ___

                               Associated Press Writers Tali Arbel in New York and
                               Michael Kunzelman in Silver Spring, Maryland,
                               contributed to this story.

                               ___
                                                                                                                               Senate Demo
                               This story has been corrected to read Charlottesville,
                                                                                                                               package, a vic
                               Virginia, not South Carolina.




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                                 discovered as drought…

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TRENDING:          DEM SPENDING BONANZA             CHINA WAR DRUMS             BIDEN RECESSION          WIDE OPEN BORDER   UK PM RACE       M



     Politicians Won’t Be Allowed on Facebook If
     They’ve Previously Been Banned
                      743       EMAIL                        PARLER                TWEET




                                                                                                                                  AFP


     by ALLUM BOKHARI        14 Nov 2019    246



                                                                 LISTEN TO STORY                                                 2:47




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                                                                                   They've Previously    51Banned
                                                                                                      Been   of 103
     Facebook has said it will not allow politicians to set up new accounts on the
     platform if they have previously been banned, according to a statement
     obtained from the social media company by Breitbart News.

     Breitbart News reached out to Facebook after learning that the platform was blocking a Republican
     congressional candidate’s attempt to set up an official campaign page.

     The candidate, Laura Loomer, is running in the Republican primary for the House of Representatives in
     Florida’s 21st district. She previously had her personal accounts on Facebook and Facebook-owned
     Instagram banned under the company’s “dangerous individual” policy. Loomer says the label is
     defamatory and is contesting it in court.

     President Trump declared Mar-a-Lago, Florida as his permanent residence earlier this year, meaning
     that the President and First Lady will cast their votes in FL-21.

     Her campaign attempted to set up a campaign page on Tuesday, providing Facebook with the required
     data from the Federal Elections Commission (FEC) to verify that she is a declared Republican candidate.
     Within hours of the account being set up by Loomer’s campaign, it had been blacklisted by Mark
     Zuckerberg’s company.

     In response to a request for comment by Breitbart News, a Facebook spokesman confirmed that Loomer
     would not be allowed to set up a campaign page.

     “People who have been banned from our services aren’t able to set up a new account even if they’re
     running for office,” said the spokesman.

     In a speech last month, Facebook CEO Mark Zuckerberg promised that his company would not censor
     politicians.

     “We think people should be able to hear what politicians have to say,” said Zuckerberg. “I don’t think it’s
     right for tech companies to censor politicians in a democracy.”

     Zuckerberg has also said he won’t ban ads from political candidates on his platform — but you need a
     Facebook account in order to run an ad.

     Karen Giorno, a senior adviser to the campaign, said Facebook’s banning of the campaign page
     constitutes “blatant election interference.”

     “Facebook’s actions are extremely disturbing and require immediate correction,” said Giorno.

     By allowing some political candidates and not others to reach voters through its platform, Facebook
     could run afoul of FEC regulations about “in-kind contributions.”

     When it was revealed that Rep. Matt Gaetz (R-FL) and other Republican politicians were being covertly
     censored by Twitter in 2018, Gaetz filed a complaint with the FEC alleging the uneven treatment
     constituted an undeclared contribution to their political opponents.

     Are you an insider at Reddit or any other tech company who wants to confidentially
     reveal wrongdoing or political bias at your company? Reach out to Allum Bokhari at his
     secure email address allumbokhari@protonmail.com.

     Allum Bokhari is the senior technology correspondent at Breitbart News.
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     Universe, Matt Gaetz


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                   Raptormann • 3 years ago
                   If there is anything Proving that FaceBook is NOT a Platform but
                   IS a Publisher.... this is it!

                   BTW

                   Who is Eric Chiaramella?
                   31 △     ▽ • Reply • Share ›
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                            SwiftHatchet > Raptormann • 3 years ago
                            There needs to be endless lawsuits.
                            15 △     ▽ • Reply • Share ›

                            This comment was deleted.
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                                     Lycurgus the Law Giver > Guest
                                     • 3 years ago • edited
                                     What he didn't say is that if you've ever been
                                     shadow-banned for political reason (as I have half a
                                     dozen times), Facebook will do everything in its
                                     power to prevent you from becoming a politician,
                                     influencing politicians, or even being heard or seen
                                     by your own representatives, but they'll never
                                     publicly admit that they are doing so.
                                     2△      ▽ • Reply • Share ›

                                     Robert Stack > Guest • 3 years ago
                                     Zuckerburg is living proof that spineless dorks should
                                     never be allowed to run anything....
                                     1△      ▽ • Reply • Share ›

                                              Jonney Quest > Robert Stack • 3 years ago
                                              Then most companies would fold. Most large
                                              companies are run by Accountants with
                                              Lawyers. An ugly combination.
                                              1△      ▽ • Reply • Share ›

                            Troy Winston > Raptormann • 3 years ago
                            Do you spell Eric Ciaramella's last name with a "Chia"
                            instead of "Cia" just to avoid filters and censors?
                            6△      ▽ • Reply • Share ›

                            MrPhoenix > Raptormann • 3 years ago
                            A leaker. Also, Epstein didn’t k!ll himself.
                            3△      ▽ • Reply • Share ›

                            Robert Stack > Raptormann • 3 years ago
                            Lil Charlie is Brennan's spy...
                            1△      ▽ • Reply • Share ›

                            Michael R > Raptormann • 3 years ago
                            Don't know who Eric Chiamamella is, but I suspect you
                            intentionally misspelled the "whistleblower's name" to
                            prevent being banned by Disqus.
                            △ ▽ • Reply • Share ›

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                                                                     on Facebook                 Page
                                                                                   They've Previously    54Banned
                                                                                                      Been   of 103
                   Gus Seals • 3 years ago
                   Can you say "class Action" going to cost them billions.
                   20 △     ▽ • Reply • Share ›


                            This comment was deleted.
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                                              Tradisjonal Nordmann > Guest
                                              • 3 years ago
                                              Agreed.
                                              I don't even let my PC come near fakebook. I
                                              check where links go before clicking. And, I
                                              advice others to do the same.
                                              △ ▽ • Reply • Share ›

                            Rico > Gus Seals • 2 years ago
                            Pocket change for them.
                            △ ▽ • Reply • Share ›

                   Stan Wiggins or maybe not • 3 years ago
                   In other words, if Zuckerberg's little hounds decide you hold too
                   much sway and are a politician who doesn't follow their way of life,
                   you will be banned for some reason, and will never be allowed back
                   on, but if you are a fellow Democrat, you can do anything you
                   want? Prime reason to shut Facebook down, break it into multiple
                   parts, then ban each of them for 1 full year before allowing any
                   components to register, pay the price, and come back as a social
                   media small timer to start all over.
                   11 △     ▽ • Reply • Share ›

                            HarleyYost > Stan Wiggins or maybe not • 3 years ago
                            The court says Trump can’t block Twitter followers. But the
                            democrats can simply have their lapdogs at Twitter/FB ban
                            anyone who disagrees with them. What is the purpose of
                            the FEC if not to stop scale thumbing like this?
                            2△      ▽ • Reply • Share ›

                   Proverbs17-12NLT • 3 years ago
                   Sooo it's ok to no longer serve blacks at denny's?
                   9△     ▽ • Reply • Share ›

                            Rayford > Proverbs17-12NLT • 3 years ago
                            Remember Sambo's restaurants ? They all became
                            Dennys.
                            4△      ▽ • Reply • Share ›

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                                                                     on Facebook                 Page
                                                                                   They've Previously    55Banned
                                                                                                      Been   of 103
                                     badger_52 > Rayford • 3 years ago
                                     Hand raised. Heh, you're dating yourself there. One
                                     FOG to another. :)
                                     3△      ▽ • Reply • Share ›

                                              Rick > badger_52 • 3 years ago
                                              They had some good food.
                                              △ ▽ • Reply • Share ›

                                              Rayford > badger_52 • 3 years ago
                                              Im not as young as I look
                                              △ ▽ • Reply • Share ›

                                     Proverbs17-12NLT > Rayford • 3 years ago
                                     Wow, we're not getting any younger are we? Yes I
                                     ate at a few of them.
                                     △ ▽ • Reply • Share ›

                            TimeTravelPundit > Proverbs17-12NLT • 3 years ago
                            What? Jim Crow's back?
                            3△      ▽ • Reply • Share ›

                                     BeholdThe2020BlueWave > TimeTravelPundit
                                     • 3 years ago
                                     Yes, the Democrats are bringing all their old ideas
                                     back. Conservative is the new black.
                                     6△      ▽ • Reply • Share ›

                            Rico > Proverbs17-12NLT • 2 years ago
                            Yes, Facebook booted Loomer because she's black.
                            △ ▽ • Reply • Share ›

                   texasgrandmom • 3 years ago
                   This really seems like blatant FEC violations.
                   6△     ▽ • Reply • Share ›

                   Abel Washington • 3 years ago
                   Zuckerberg is the Facebook nazi.

                   No Facebook for you.
                   3△     ▽ • Reply • Share ›

                   Chickie Fillette • 3 years ago
                   You get banned on Fakebook for being Republican!
                   2△     ▽ • Reply • Share ›

                   Beach girl • 3 years ago
                   Loomer was banned for NO REASON other than she kept showing
https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   6/15
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                                        Politicians               80-2
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                                                                                   They've Previously    56Banned
                                                                                                      Been   of 103
                   up where Hillary was and asking her why she didn't defend the
                   women her husband raped! She became a "TRUTHER" to Dems!
                   2△     ▽ • Reply • Share ›

                   EyeAm • 3 years ago
                   "Facebook has said it will not allow politicians to
                   set up new accounts on the platform if they have previously been
                   banned,
                   according to a statement obtained from the social media company
                   by
                   Breitbart News."

                   Nobody cares, Facebook. You're becoming irrelevant because of
                   your own stupidity.

                   They'll just go to GAB.com where free speech reigns.
                   2△     ▽ • Reply • Share ›

                   Maxwell • 3 years ago • edited
                   Zuckerberg better oil and pepper his Angus because the courts
                   have already made rulings regarding the free speech status of
                   political social media accounts.
                   1△     ▽ • Reply • Share ›

                   Jeff Schroer • 3 years ago
                   It’s only a matter of time before ALL republicans will be banned and
                   Democrats will get to say whatever they want!
                   1△     ▽ • Reply • Share ›

                            MojaveForks > Jeff Schroer • 3 years ago
                            That is the plan anyway.
                            △ ▽ • Reply • Share ›

                   libmodssuck • 3 years ago
                   So the mods will start banning people for conservative likes posts
                   etc so in the future they can be blacklisted if they ever run for
                   office...pretty obvious what their end game is
                   1△     ▽ • Reply • Share ›

                   Miles Monroe • 3 years ago
                   Douchebook will get its comeuppance.
                   1△     ▽ • Reply • Share ›

                   Sholver • 3 years ago
                   Facebook is just the start. A general silencing of dissent, China-
                   style, is coming.

                   We should be brave enough to follow where the people of Hong
                   Kong lead.
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                                                                     on Facebook                 Page
                                                                                   They've Previously    57Banned
                                                                                                      Been   of 103
                   1△     ▽ • Reply • Share ›

                   H. Al. • 3 years ago
                   Who cares about the Fecesbook!
                   1△     ▽ • Reply • Share ›

                   far2right • 3 years ago
                   Um, none of them care about your platform.

                   Twitter is the platform for politicians.

                   They have their own websites.
                   1△     ▽ • Reply • Share ›

                   blank-stare • 3 years ago
                   Or, if they just don't like you or what you say...covers it all.
                   1△     ▽ • Reply • Share ›

                   Hannibal B • 3 years ago • edited
                   "When it was revealed that Rep. Matt Gaetz (R-FL) and other
                   Republican
                   politicians were being covertly censored by Twitter in 2018, Gaetz
                   alleging the uneven treatment constituted an undeclared
                   contribution to their political opponents."

                   Congratulations, Republicans have finally pulled their heads out
                   their ass and recognized what some have yelling about for close to
                   a decade.

                   Maybe in another decade you'll recognize that FB is abusing their
                   safe harbor privilege by altering their terms of service to mirror
                   liberal beliefs and targeting the Right for censorship for not
                   believing what liberals believe.

                   And maybe in another 10 years you'll recognize that FB doesn't
                   care that the Left violates their terms and conveniently turns a blind
                   eye to the Left attacking the Right but bans the Right when they
                   defend themselves
                                                         see more

                   1△     ▽ • Reply • Share ›

                   mion • 3 years ago
                   The rich T shirt has spoken. Socialism rules fakebook.
                   1△     ▽ • Reply • Share ›

                   Deplorable1 • 3 years ago
                   This has got to violate federal laws. It is for campaign purposes and
                   preventing a candidate from setting up a campaign site is a
                   complete violation of free speech. Facebook says they are a
                   platform not a publisher and as a platform they must allow
https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   8/15
8/8/22, 10:39 AM      Case 3:22-cv-02646-LB       Document
                                        Politicians               80-2
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                                                                     on Facebook                 Page
                                                                                   They've Previously    58Banned
                                                                                                      Been   of 103
                   platform, not a publisher and as a platform they must allow
                   campaign sites to exist. Even when that site is setup by a
                   previously banned user.

                   I don't like the idea of the government regulating anything, but
                   when companies trample on our rights, it is time for the government
                   to get involved.
                   1△     ▽ • Reply • Share ›

                            tolstoink > Deplorable1 • 3 years ago
                            It's ok' They just mean REPUBLICAN politicians.
                            1△      ▽ • Reply • Share ›

                   Show Some Integrity • 3 years ago
                   It is way past time to shut down Facebook. It is a dangerous thing
                   to America and our freedom of speech.

                   Besides I detest it.
                   1△     ▽ • Reply • Share ›

                   BossBass7o7 • 3 years ago
                   ... & there it is.
                   1△     ▽ • Reply • Share ›

                   Oasis • 3 years ago
                   If you still have a FB account- Shame on you!
                   1△     ▽ • Reply • Share ›

                   Thunder Patriot • 3 years ago
                   Commiebook
                   1△     ▽ • Reply • Share ›



        ALSO ON BREITBART NEWS NETWORK




          Democracy for                            Veteran Who Survived                    Chinese
          America CEO …                            Four WWII Invasions …                   Cites Pet
          11 hours ago • 43 comments               13 hours ago • 65 comments              7 hours ago

          Sunday on ABC News' "This                A veteran named Bud                     China's Glo
          Week," Democracy for                     Clauson celebrated a huge               newspaper
          America CEO Yvette …                     milestone on Sunday …                   Schweizer




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                                                    


                   MOST POPULAR
      Republicans Warn
      Democrats Will 'Pay
      the Price' for
      Spending Bill
      3,195 comments


      Senate Passes $700
      Billion 'Inflation
      Reduction' Bill
      7,839 comments



      ATR: Taxes on Fuel,
      Business, Medicines
      in 'Inflation
      Reduction Act'
      1,109 comments


      Male ‘Transgender’
      Prisoners will no
      Longer be Housed
      with Women
      156 comments


      GA Couple Arrested
      for Using Adopted
      Children in Child
      Pornography
      1,543 comments


      Donald Trump: Next
      President Must
      ‘Remove Rogue
      Bureaucrats and
      3,071 comments


      53 Shot During
      Weekend in Mayor
      Lori Lightfoot's
      Chicago
      176 comments

                                     Katharine McPhee
      Katharine McPhee
                                   Blames 'Woke' Voters
      Blames 'Woke'
                                   for Crime Wave in
https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   10/15
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                                    o C       e Wave
      Voters for Crime      Beverly Hills
      Wave in Beverly Hills
      245 comments

                                      Gaza Terror Rocket
      Gaza Terror Rocket
                           Lands on Palestinian
      Lands on Palestinian
      House, Kills Kids    House, Kills Kids
      Inside               Inside
      3,519 comments

                                      Democrats Poised
      Democrats Poised to
                          to Spend $3.5 Trillion
      Spend $3.5 Trillion
      with Republican     with Republican Help
      Help
      1,108 comments




                   FROM THE HOMEPAGE
        ATR: Taxes on
      Fuel, Business,
      Medicines, and More
      in ‘Inflation
      Reduction Act’

      ATR: Taxes on Fuel,
      Business, Medicines,
      and More in
      ‘Inflation Reduction
      Act’
       1,109 Comments




        Summer of Rage,
      Part V: PAC
      Launched by ‘Ruth
      Sent Us’ Organizers
      Failed to Disclose
      Finances,
      Summer of Rage,
      Part V: PAC
      Launched by ‘Ruth
      Sent Us’ Organizers
      Failed to Disclose
      Finances,
      Mysteriously
      ‘Terminated’ by FEC
       10 Comments




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                                                                                                      Been   of 103

        China Holds Fresh
      Military Drills
      Around Taiwan



      China Holds Fresh
      Military Drills
      Around Taiwan
       44 Comments




        Mark Kelly Votes
      Against Amendment
      to Develop Five-
      Year-Program for
      Oil, Gas

      Mark Kelly Votes
      Against Amendment
      to Develop Five-
      Year-Program for
      Oil, Gas
       332 Comments




        Male
      ‘Transgender’
      Prisoners will no
      Longer be Housed
      with Women,
      Minister to Promise
      Male ‘Transgender’
      Prisoners will no
      Longer be Housed
      with Women,
      Minister to Promise
       156 Comments




        53 Shot During
      Weekend in Mayor
      Lori Lightfoot’s
      Chicago


      53 Shot During
      Weekend in Mayor
      Lori Lightfoot’s
      Chicago
       176 Comments




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                                                                                                      Been   of 103

        Tavistock Scandal:
      Foreign Health
      Service Was Warned
      About ‘Unsafe’ Child
      Transgenderism
      Clinic in 2019
      Tavistock Scandal:
      Foreign Health
      Service Was Warned
      About ‘Unsafe’ Child
      Transgenderism
      Clinic in 2019
       25 Comments




        Chinese State
      Media Cites Peter
      Schweizer, Breitbart
      to Attack Nancy
      Pelosi

      Chinese State Media
      Cites Peter
      Schweizer, Breitbart
      to Attack Nancy
      Pelosi
       65 Comments




        Actress Katharine
      McPhee Blames
      ‘Woke’ Voters for
      Crime Wave in
      Beverly Hills

      Actress Katharine
      McPhee Blames
      ‘Woke’ Voters for
      Crime Wave in
      Beverly Hills
       245 Comments




https://www.breitbart.com/tech/2019/11/14/politicians-wont-be-allowed-on-facebook-if-theyve-previously-been-banned/   13/15
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                                                                                                      Been   of 103

        Alec Baldwin
      Bashed for
      Supporting Actress
      Anne Heche After
      Her Fiery Crash:
      ‘What About the
      Alec Baldwin Bashed
      for Supporting
      Actress Anne Heche
      After Her Fiery
      Crash: ‘What About
      the People She
      Almost Killed’
       144 Comments




        Doctors Press
      Government to
      ‘Vaccinate Faster’ as
      Monkeypox Spreads
      Across UK

      Doctors Press
      Government to
      ‘Vaccinate Faster’ as
      Monkeypox Spreads
      Across UK
       168 Comments




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         Enes Kanter
      Freedom: White
      House Cannot
      Exchange ‘Merchant
      of Death’ for Brittney
      Griner
      Enes Kanter
      Freedom: White
      House Cannot
      Exchange ‘Merchant
      of Death’ for Brittney
      Griner
       55 Comments




        GOP Rep. Budd on
      Inflation Reduction
      Act: Dems Want to
      ‘Help Rich People
      Buy a Tesla’

      GOP Rep. Budd on
      Inflation Reduction
      Act: Dems Want to
      ‘Help Rich People
      Buy a Tesla’
       8 Comments




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 EXHIBIT 10
8/8/22, 10:41 AM     Case 3:22-cv-02646-LB      Document
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                                                    political ads from    Filed  10/27/22
                                                                             making false claims | Page   66
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                                                                                                            | The 103




    Facebook

        This article is more than 2 years old

    Facebook exempts political ads from ban on making
    false claims
    Firm quietly rescinds policy banning false advertising as UK
    general election looms

    Alex Hern
       @alexhern
    Fri 4 Oct 2019 08.36 EDT

    Facebook has quietly rescinded a policy banning false claims in advertising, creating a
    specific exemption that leaves political adverts unconstrained regarding how they
    could mislead or deceive, as a potential general election looms in the UK.

    The social network had previously banned adverts containing “deceptive, false or
    misleading content”, a much stronger restriction than its general rules around
    Facebook posts. But, as reported by the journalist Judd Legum, in the last week the
    rules have narrowed considerably, only banning adverts that “include claims debunked
    by third-party fact-checkers, or, in certain circumstances, claims debunked by
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https://www.theguardian.com/technology/2019/oct/04/facebook-exempts-political-ads-ban-making-false-claims                    1/4
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                                                    political ads from    Filed  10/27/22
                                                                             making false claims | Page   67
                                                                                                   Facebook    of Guardian
                                                                                                            | The 103
    organisations with particular expertise”.

                                     Under Facebook’s third-party fact-checking programme, it invites
    independent organisations such as the UK’s Full Fact to verify claims posted to the
    social network. But the groups, made up mainly of small charities and nonprofits, are
    heavily constrained in how many claims they can fact-check, meaning they often only
    verify the most viral cases.


    But even that limit has been lifted for some political adverts. A separate policy
    introduced by the social network recently declared opinion pieces and satire ineligible
    for verification, including any website or page “with the primary purpose of expressing
    the opinion or agenda of a political figure”. The end result is that any direct statement
    from a candidate or campaign cannot be fact-checked and so is automatically
    exempted from policies designed to prevent misinformation. (After the publication of
    this story, Facebook clarified that only politicians currently in office or running for
    office, and political parties, are exempt: other political adverts still need to be true.)

    The changes, Legum reported, followed a run of Donald Trump adverts that contained
    false claims but were not removed under the old rules.

    The new rules could prompt a clash between Facebook and UK regulators. The
    Advertising Standards Authority does not cover political adverts in Britain, the content
    of which is largely unregulated, but it does cover all other adverts, including those
    posted on Facebook. The ASA’s code explicitly bans adverts that “materially mislead or
    [are] likely to do so”, language that is close to that used in Facebook’s previous
    policies.

    A Facebook spokesman said: “We don’t believe that it’s an appropriate role for us to
    referee political debates. Nor do we think it would be appropriate to prevent a
    politician’s speech from reaching its audience and being subject to public debate and
    scrutiny.”
    Facebook’s decision comes as the rival service TikTok takes the opposite stance. In a
    blogpost, the social network, whose reported 500 million users would make it the
    largest in the world not owned by Facebook, made clear it would not be hosting any
    political adverts.


     Q&A
     What is TikTok?
                Show

https://www.theguardian.com/technology/2019/oct/04/facebook-exempts-political-ads-ban-making-false-claims                    2/4
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                                                                             making false claims | Page   68
                                                                                                   Facebook    of Guardian
                                                                                                            | The 103

    “Any paid ads that come into the community need to fit the standards for our platform,
    and the nature of paid political ads is not something we believe fits the TikTok
    platform experience,” wrote Blake Chandlee, the company’s vice-president of global
    business solutions. “To that end, we will not allow paid ads that promote or oppose a
    candidate, current leader, political party or group, or issue at the federal, state, or local
    level – including election-related ads, advocacy ads, or issue ads.”

    Chandlee said the decision was prompted by TikTok’s mission “to inspire creativity
    and build joy”. That same rationale had been cited by the company, which is owned by
    the Chinese startup Bytedance, to explain why it censored posts that went against the
    political orthodoxy of Beijing, mentioning topics such as the Tiananmen Square
    killings or the independence movement in Taiwan.

    When the Guardian revealed the censorship, TikTok said the rules had since been
    repealed and replaced with ones that “take localised approaches” to “provide an app
    experience that fosters their creativity”.


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                                                                                                   Facebook    of Guardian
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                   $7 per month                                $20 per month                                 Other



          Continue                        Remind me in September




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 EXHIBIT 11
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                                                                                                              Misinformation

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  POLITICS

  Facebook's Updated Advertising Policy Could Enable Politicians to Spread
  Misinformation
  BY MEKA BOYLE ON 10/3/19 AT 5:18 PM EDT




                                     


      POLITICS          TRUMP         DONALD TRUMP         JOE BIDEN         FA C E B O O K



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     Donald Trump responds to a question during the first Republican presidential debate in 2015 hosted by Fox News and Facebook in Cleveland, Ohio.
     SCOTT OLSON/GETTY IMAGES




  F           acebook's updated advertising rules could allow politicians to post ads that contain falsehoods
              without violating any of the company's terms.

  Last week the social networking site altered and thinned out its rules on misinformation so that
  politicians and political parties are exempt from fact-checking requirements.

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  This change comes at the same time that President Donald Trump dramatically increased his spending
  on Facebook ads. Between September 25 and October 1 Trump spent $1,664,958 on political ads—far
  outspending any of his competitors, according to Facebook's Ad Library.

  The Trump campaign's most-circulated Facebook ad, "Biden Corruption," alleged that "Joe Biden
  promised Ukraine a billion dollars if they fired the Prosecutor investigating his son's company."

  The Democratic National Committee called on Facebook to remove the advertisement. "Any false ad
  should be fact checked and removed, including this one," said Daniel Wessel, the deputy war room
  director at the DNC, The Hill reported.




  Additionally, CNN refused to air the ad due to its misleading content as well as its direct attacks on
  three of the network's reporters.

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  The Biden collusion claim that Trump has repeatedly referenced has been deemed false by numerous
  fact checkers, including Factcheck.org and Politifact.

  When Judd Legum of Popular Information brought this up to Facebook while investigating the recent
  policy change, the company responded that its policies were not in violation because political ads are
  unable to be fact checked—a major change from a week ago when Facebook did not allow ads that
  contained "false or misleading" information, and made no exceptions for politicians.

  Up until recently Facebook stated under the category 'Prohibited Content,' in Section 13 titled
  'Misinformation,' that "ads, landing pages, and business practices must not contain deceptive, false, or
  misleading content, including deceptive claims, offers, or methods," reported Popular Information.

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                                                                                                           Misinformation

  This language is absent from the updated policy. Instead, Facebook only targets "ads that include
  claims debunked by third-party fact checkers or, in certain circumstances, claims debunked by
  organizations with particular expertise."

  According to a Facebook document on fact checking, the company claimed any direct statement from
  a political candidate or campaign cannot be fact checked. Facebook asserted that a political ad is
  exempt if it "contains a claim that is not verifiable, was true at the time of writing, or from a website or
  Page with the primary purpose of expressing the opinion or agenda of a political figure."

  Travis Ridout, professor of government and public policy at Washington State University, said that
  Facebook's decision to limit the restrictions on political advertising is a way of staying out of the
  political cross hairs. "As soon as they start becoming the arbiters of what is true and what is not true,"
  he told Newsweek, "first of all they create a huge job for themselves, second of all they get attacked
  from politicians from both sides."




  Since the 2018 midterm elections, the Trump campaign spent approximately $19 million—including
  $215,585 on ads that did not come with a disclaimer connecting them to the Trump campaign.

  More than 1,800 unique ads on Trump's Facebook account mentioning impeachment ran in the last
  week of September and were viewed between 16 and 18 million times, CNN reported.

  "If Facebook has indicated that they're really not going to stop you, then it is open season and I think
  we are going to see a lot more ads like this," said Ridout.




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  THE DEBATE


               Enforcing the Rules Would Eliminate Need for Red Flag Laws
               BY ARI HOFFMAN


                                                                       VS


  Implement Community Violence Intervention Programs
  BY KRISTAL KNIGHT




  OPINION
               U.S. Children Carry a Double Burden for Gun Violence and Policy Gaps
               BY MICHELLE BLAKE



               Dear Sen. Sinema: We Love You—Your Pals, the Hedge Fund Bros
               BY DAVID FARIS



               End Nuclear Weapons Before They End Us
               BY WILLIAM J. ASTORE



               It's Time to Right an Injustice at the UN
               BY JOSH FELDMAN



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               BY JOE HIPSKY                                                                                         SUBSCRIBE FOR $1


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                                                                                                            Misinformation


               Russia's War on Ukraine Creates a Global Food Crisis U.S. Must Address

               BY RAJA KRISHNAMOORTHI


               Brittney Griner Saved My Life. Please Join Me in the Fight for Hers
               BY TAMRYN SPRUILL



               The Astounding Gluttony of Giants
               BY DAN PERRY



               Here's How to Face Down China's Growing Threat to Taiwan
               BY BARRY PAVEL AND MATTHEW KROENIG



               Why Aren't All Democrats Calling This Play?
               BY SHEKAR NARASIMHAN AND NATHALIE RAYES




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  POLITICS
  Zuckerberg Tells Fox News Facebook Won't Censor Politicians, While Warren Says Facebook Could Help
  Trump Win Again
  BY JEFFERY MARTIN ON 10/17/19 AT 11:25 PM EDT




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     POLITICS        MARK ZUCKERBERG              FA C E B O O K   CENSORSHIP   ELIZABETH WARREN




  I      n an advance clip of an interview set to air Friday on Fox News, Facebook CEO Mark Zuckerberg said he would
         not censor social media posts from politicians, including President Donald Trump.
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  Democratic presidential candidate Elizabeth Warren, meanwhile, condemned Facebook and Zuckerberg for earlier
  remarks via Twitter. It's the latest in a string of criticisms the senator has leveled against the company.

  "Facebook is actively helping Trump spread lies and misinformation," Warren wrote. "Facebook already helped elect
  Donald Trump once. They might do it again—and profit off of it."

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  It appeared Warren was specifically responding to an earlier speech Zuckerberg gave on Thursday at Georgetown
  University about free speech. During that speech, Zuckerberg said he didn't "think most people want to live in a world
  where you can only post things that tech companies judge to be 100 percent true."


                                              Elizabeth Warren    · Oct 17, 2019
                                              @ewarren · Follow
                                              Mark Zuckerberg's speech today shows how little he learned from
                                              2016, and how unprepared Facebook is to handle the 2020 election.




                                                  nytimes.com
                                                  Defiant Zuckerberg Says Facebook Won’t Police Political Speech …
                                                  In an address at Georgetown University, the Facebook chief
                                                  executive called for more free speech — not less — as his …


                                              Elizabeth Warren
                                              @ewarren · Follow

                                      Facebook had a policy that didn't permit misinformation
                                      in any ads. Facebook built relationships with independent
                                      fact-checkers, so they weren't the sole deciders of what
                                      was or wasn't a lie. But Facebook undermined those
                                      relationships and excluded political ads from that policy.
                                      9:38 PM · Oct 17, 2019

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  According to a portion of the interview with Fox News host Dana Perino posted on Thursday, Zuckerberg reiterated
  similar themes, saying the company had no plans to censor Trump or politicians in general.




  "My belief is that in a democracy, I don't think that we want private companies censoring politicians in the news,"
  Zuckerberg said. "I generally believe that as a principle, people should decide what is credible and what they want to
  believe, who they want to vote for. And I don't think that should be something that we want tech companies or any
  kind of company doing."

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  Warren has previously sparred with Facebook and Zuckerberg, tweeting on Saturday that her team had intentionally
  made a political advertisement with false claims to see how quickly Facebook would run it.




                                        Facebook changed their ads policy to allow politicians to run ads

                                        with known lies—explicitly turning the platform into a

                                        disinformation-for-profit machine. This week, we decided to see

                                        just how far it goes.


                                        — Elizabeth Warren (@ewarren) October 12, 2019




  Warren has also spoken about breaking up Silicon Valley technology companies, saying the companies held too
  much power and tweeting with the hashtag "#BreakUpBigTech."




                                        Giant tech companies have too much power. My plan to

                                        #BreakUpBigTech prevents corporations like Amazon from

                                        knocking out the rest of the competition. You can be an umpire,

                                        or you can be a player—but you can’t be both. #WarrenTownHall

                                        pic.twitter.com/73y1002QVv


                                        — Elizabeth Warren (@ewarren) April 23, 2019                    LOGIN       SUBSCRIBE FOR $1

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                                        Mark Zuckerberg's speech today shows how little he learned

                                        from 2016, and how unprepared Facebook is to handle the 2020

                                        election. https://t.co/2JHCuihexR


                                        — Elizabeth Warren (@ewarren) October 18, 2019




  Warren also said on Twitter Thursday night that Facebook was "unprepared" for the 2020 election.




  Zuckerberg, meanwhile, previously threatened legal action if Warren were elected president in leaked comments. "At
  the end of the day," Zuckerberg said, according to Politico, "if someone's going to try to threaten something that
  existential, you go to the mat and you fight."

  Zuckerberg later backed off his comments slightly.

  "Maybe I said that in a little bit more unfiltered of a way than I would say it externally," Zuckerberg said, "but
  fundamentally we believe everything we said that was in there."




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    Facebook CEO Mark Zuckerberg leads a conversation on free expression at Georgetown University on October 17, 2019 in Washington, DC.
    RICCARDO SAVI/GETTY



  Zuckerberg said he still planned on treating Warren fairly.

  "Even when people disagree with what I think would be good to happen in the world, I still want to give them a voice,"
  Zuckerberg said. "That's what we're here to do."




  Warren's campaign did not immediately respond to Newsweek's request for comment on Thursday night.


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After Social Media Bans, Militant Groups Found Ways to Remain
By Sheera Frenkel and Ben Hubbard
April 19, 2019



SAN FRANCISCO — In July 2013, a broadcaster affiliated with the Islamist group Hezbollah posted a threatening video on
Facebook, YouTube and Twitter. It featured gun-toting militants practicing an ambush to kidnap Israeli soldiers. The message: This
is how we kill you.

In December, the broadcaster posted another video that showed how Hezbollah’s social media strategy had changed. This one
contained close-up footage of Israeli soldiers on patrol, with no Hezbollah members visible. The message was also dialed back: We
are watching you.

Hezbollah is among dozens of groups classified by the United States as terrorist entities that have learned how to stay a step ahead
of the social media giants. In the past, Facebook, YouTube and Twitter have taken down the official pages of these militant groups
dozens of times and banned their accounts.

But Hamas and Hezbollah, in particular, have evolved by getting their supporters to publish images and videos that deliver their
message — but that do not set off the alarm bells of the social media platforms. Today, the groups mostly post images of festive
parades and religious celebrations online, as well as videos of speeches by their leaders.

That has allowed Hamas and Hezbollah, as well as groups like the East African-based Shabab, to proliferate largely unchecked on
social media, even as a clampdown by Facebook and others has neutered the online presences of the terror organizations that are
the most threatening to the West — the Islamic State and Al Qaeda.

The change thrusts Facebook, YouTube and Twitter into complicated territory. Unlike Al Qaeda and the Islamic State, Hamas and
Hezbollah are political forces in their territories. Hamas has governance duties in the Gaza Strip, in addition to its militancy.
Hezbollah is a recognized political party in Lebanon. And by no longer posting overtly violent material, the groups arguably merit a
different treatment by the social media companies.

Facebook and others said they typically adhered to the designations set by the United States on terrorist groups, citing how any
online presence — even a seemingly innocuous or benign post — helps legitimize them and increase their visibility. Even so, it has
proved difficult for the companies to follow the rules they set for themselves, precisely because the groups can be deemed political
organizations or terrorist entities, depending on one’s perspective.

“There has to be a differentiation in the way we understand how different groups use social media,” said Lina Khatib, the head of the
Middle East and North Africa program at Chatham House, the London think tank.




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                                    Al Manar, the pro-Hezbollah media organization, has a Twitter feed.



That complexity has dismayed Israel, which has fought several wars against Hamas and Hezbollah. Since 2015, Israeli legal groups
and their partners in the United States have filed at least three lawsuits against Facebook, accusing it of turning a blind eye to how
the militant organizations use the social network.

In November, the Israel legal center Shurat HaDin, which previously had filed some of these cases, threatened to sue Facebook
again if the company continued to let a Hamas-linked broadcaster share content on the site.

“The mere fact that Hamas affiliates still have Facebook pages shows you that Facebook does not care,” said Nitsana Darshan-
Leitner, founder of Shurat HaDin, adding she would not hesitate to take her cases to the Supreme Court. “We argue that anything at
all Hamas posts is terrorist content.”




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The social media companies could face other penalties from the thriving activity of the groups and their supporters on their
networks. The European Union is considering a new law that would fine tech companies if they did not remove terrorist content
from their sites within one hour of being notified of its presence.

Brian Fishman, Facebook’s global head of counterterrorism, said the social network had zero tolerance for any group that the
United States listed as a terrorist entity. He added that the company had removed 99 percent of Islamic State and Al Qaeda content
largely by using artificial intelligence.

But Mr. Fishman also suggested that posts by organizations like Hezbollah could fall through the cracks because the groups stopped
short of issuing direct threats of violence.

“If we have to make a hard prioritization decision, we’re going to focus on stuff that directly calls for violence,” he said. “The blunt
truth is that it is very difficult” to weed out.

Twitter did not respond to questions about activity by Hezbollah and other militant groups on its service. It referred to a
transparency report detailing how it had suspended 205,156 accounts for promoting terrorism in the first half of 2018. A YouTube
spokeswoman said the company had removed channels for promoting violence or violent extremism and barred groups that the
United States labeled terrorists.

Hezbollah and Hamas did not respond to requests for comment.

The issue of militant groups on social media came to the fore in 2013 when the Islamic State grabbed global attention by posting
videos of beheadings and bombings online. The Islamic State also used the channels to spread propaganda and to recruit followers.

Groups like Hamas and Hezbollah do not primarily use social media to recruit, Ms. Khatib said, but to intimidate their enemies and
rally their supporters.




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                                    On Instagram, the photo-sharing site owned by Facebook, Arabic-language hashtags
                                    promoting Hamas feature thousands of propaganda videos and images for the group.



Tech companies said they had always barred these groups from their platforms. But the organizations continued posting to social
media anyway.

Around 2015, the tech companies started making some headway in removing Islamic State and Qaeda content, according to
counterterrorism experts. The companies created dedicated teams and used A.I. tools to find and eliminate posts from the Islamist
groups.

But the companies did not reckon with the organizations’ abilities to manipulate their platforms by posting material that went up to,
but did not cross, the line of being flagged by users or outside observers. Many of the groups also use proxies, such as media
organizations or local charities, to post content on the platforms for them.

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Hezbollah and Hamas, in particular, have honed their social media strategies to foster their online presences.

Hezbollah, which now has no official accounts on the big social media platforms, largely shares through Al Manar, a broadcaster
with strong pro-Hezbollah ties. Al Manar has a Twitter feed, which is followed by 481,000 people. Content from the channel is easy to
find on YouTube, including many lengthy speeches by Hezbollah’s leader, Hassan Nasrallah.

A recent search on YouTube for Al Manar in Arabic yielded over 37,000 results. Many of those videos have tens of thousands of
views and have been on the site for years.

Hamas enjoys a similar widespread presence on Facebook, YouTube and Twitter. The group has a Twitter feed, though not a
Facebook page or a YouTube account. Many of its leaders have personal social media accounts, where they post commentaries,
photos and videos.

The Hamas television station, Al Aqsa, also has a Twitter feed and a Facebook page. And on Instagram, the photo-sharing site
owned by Facebook, popular Arabic-language hashtags promoting Hamas feature thousands of propaganda videos and images.

When conflicts with Israel escalate, Hamas’s presence on social media also rises. In August, Israel accused Hamas members of
posing as attractive women on Instagram to lure Israeli soldiers into sharing details about themselves and to download malware.

Israel called the campaign Operation Broken Heart. It showed, Israeli officials said, how dangerous it was to allow militant
organizations to use social media.




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    TECHNOLOGY
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    Twitter has taken down several accounts affiliated with Hamas and Hezbollah after facing
    public pressure from a group of bipartisan lawmakers who accused the platform of flouting
    U.S. law.

    Twitter’s decision to begin purging accounts associated with “foreign terrorist
    organizations” is a pivot from its earlier stance of keeping some Hamas and Hezbollah-
    affiliated accounts online.

    {mosads}Over the weekend, Twitter removed several English-language and Arabic
    accounts associated with Hamas and Hezbollah’s news and political arms after vowing to
    “review” accounts highlighted by Reps. Josh Gottheimer (D-N.J.), Tom Reed (R-N.Y.), Max Rose
    (D-N.Y.) and Brian Fitzpatrick (R-Pa.) last month.




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    Twitter has also blocked a news account associated with the Houthi movement in
    Yemen, called “The Central Warfare Channel,” according to an Iranian news outlet.

    The lawmakers first raised their concerns about the Hamas and Hezbollah accounts in a letter
    to Twitter in September, and then held a public press conference decrying Twitter’s stance
    last month when the platform declined to take down the accounts.

    “My colleagues and I were outraged when [Twitter] first responded to us — contrary to
    Facebook and Google, [Twitter] insisted that they were going to keep up the content of
    … Hezbollah and Hamas,” Gottheimer told The Hill in a phone interview from his district on
    Monday.

    “To me, it’s essential that they’ve taken these steps to scrape the content and the handles of
    foreign terrorist organizations off their site,” Gottheimer said.

    But, he added, the lawmakers are remaining “vigilant” as they seek to ensure “this is not a one-
    off but actually a change in policy.”

    In a letter last month, Twitter’s U.S. Policy Director Carlos Monje Jr. told the lawmakers that the
    platform allows accounts associated with the political arms of groups designated by the U.S.
    as “foreign terrorist organizations,” though it does not allow their military wings to have a
    presence on the platform.

    Monje also noted that Twitter allows groups engaged in active peace resolution processes to
    remain online, as well as groups that have been elected to public office.

    The Hamas administration was elected to serve as the governing body of the Gaza Strip over a
    decade ago, and Hezbollah has been a legitimate part of the government in Lebanon since
    2005. Though the U.S. and other Western countries have designated both Hamas and
    Hezbollah as terrorist organizations, both groups have political arms that are responsible for
    representing large swaths of people and providing social services in Palestinian territory and
    Lebanon, respectively. Hamas has been involved in continual negotiations with the Israeli
    government and the Palestine Liberation Organization for years.

    Gottheimer and the other lawmakers made Monje’s letter public and held a press conference
    to press the platform on the issue late last month, pointing out it is largely illegal for U.S.
    businesses to engage with groups designated as “foreign terrorist organizations.”

    And in a letter dated Nov. 1, Monje seemed to agree with their assessment, writing, “If Twitter
    identifies an account as affiliated with Hamas or Hizballah, Twitter’s policy is to terminate that
    account. We are in the process of reviewing the accounts identified in your letter and if we
    confirm that they are foreign terrorist organization accounts, they will be terminated.”

    A Twitter spokesperson declined to comment on whether there has been a formal policy
    change, but said in a statement to The Hill, “We have a long history of taking strong
    enforcement action, using a combination of people, partnerships, and technology.”



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    Between January to June 2019, Twitter said it suspended 115,861 accounts for promoting
    terrorism, a decrease of 30 percent from the year before. Eighty-seven percent of those
    accounts were flagged by Twitter’s internal artificial intelligence tools.

    “We did push them to take action and they did,” Gottheimer told The Hill. “I guarantee you
    between our teams and outside organizations, we will keep a watchful eye on their activity.”

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